             Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 1 of 21 Page ID #:250



                  1   JOSEPH W. COTCHETT(36324)
                      jcotchett@cpmlegal.com
                  2   ROBERT B. HUTCHINSON (45367)
                      rhutchinson@cpmlegal.com
                  3   NEDA L. LOTFI(290213)
                      nlotfi@cpmlegal.com
                 4    JOEL M. GORDON(SBN 280721)
                      jgordon@cpmlegal.com
                  5   COTCHETT,PITRE & McCARTHY,LLP
                      2716 Ocean Park Boulevard, Suite 3088
                 6    Santa Monica, CA 90405
                      Telephone:(310)392-2008
                  7   Facsimile:(310)392-0111

                  8   Counselfor PlaintiffSara Ebrahimi

                  9                             UNITED STATES DISTRICT COURT

                 10                            CENTRAL DISTRICT OF CALIFORNIA

                 11

                 12   SARA EBRAHIMI,an individual.              Case No. 2:16-cv-07316-DMG-KS

                 13
                                         Plaintiff,             FIRST AMENDED COMPLAINT FOR:
                 14
                             V.                                 1)STRICT PRODUCT LIABILITY
                 15                                               [FAILURE TO WARN]

                 16   MENTOR WORLDWIDE LLC;JOHNSON &            2)STRICT PRODUCT LIABILITY
                      JOHNSON SERVICES,INC;                       [MANUFACTURING DEFECT]
                 17
                                         Defendants.            DEMAND FOR JURY TRIAL
                 18

                 19

                 20

                 21

                 22

                 23

                 24

                 25

                 26

                 27

                 28

   Law Offices

COTCHETT,PiTRE &
                      FIRST AMENDED COMPLAINT AND JURY DEMAND
 McCarthy,LLP
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 2 of 21 Page ID #:251



                   1                                      TABLE OF CONTENTS

                  2                                                                              Page

                  3    I.     NATURE OF THE ACTION                                                  1

                  4    II.    PARTIES                                                               2

                  5           A.      Plaintiff Sara Ebrahimi                                       2

                  6           B.      Defendant Mentor                                              3

                  7    III.   JURISDICTION AND VENUE                                                3

                  8    IV.    FACTUAL ALLEGATIONS                                                   3

                  9           A.      Silicone Implants—^Background                                 3

                 10           B.      Sara Ebrahimi Background                                      4

                 11           C.      Mentor PMA Approval                                           6
                 12                   i. Core Post-Approval Study                                   7
                                      ii. Large Post-Approval Study                                 8
                 13                   hi. Device Failure Study                                      9
                                      iv. Focus Group Study                                        10
                 14                   V. Informed Decision Study                                   11
                                      vi. Mentor Adjunct Study                                     11
                 15

                 16           D.      Mentor Violated the PMA Conditions                           12

                 17           E.      Mentor Intentionally Failed to Warn Patients and Doctors     14
                 18    V.     VIOLATIONS ALLEGED                                                   15

                 19                FIRST CAUSE OF ACTION                                           15

                 20                Strict Product Liability—Failure To Warn                        15
                 21                SECOND CAUSE OF ACTION                                          17

                 22                Strict Product Liability—Manufacturing Defect                   17
                 23    PRAYER FOR RELIEF                                                           18

                 24    DEMAND FOR JURY TRIAL                                                       19

                 25

                 26

             .27

                 28

   Law Offices

COTCHETT,PiTRE &
 McCarthy,LLP
                       FIRST AMENDED COMPLAINT AND JURY DEMAND                                     II
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 3 of 21 Page ID #:252



                  1          Plaintiff Sara Ebrahimi ("Sara Ebrahimi"), by and through her attorneys, based on
                  2   information and belief, alleges against Defendant Mentor Worldwide LLC ("Mentor").
                  3   1.    NATURE OF THE ACTION

                  4           1.    Sara Ebrahimi brings this action against Defendant, based on its defective
                  5   manufacturing of Mentor MemoryGel™ Silicone Gel Breast Implants,repeated failure to follow
                 6    the requirements imposed by the Food and Drug Administration ("FDA") in connection with
                  7   approval of Mentor's premarket approval application(PMA), and failure to warn the FDA and
                  8   ultimate users of known dangerous propensities.

                  9          2.     Founded in 1969, Mentor is a leading supplier of medical products for the global
                 10   aesthetic market. The company develops, manufactures, and markets,science-based products for
                 11   surgical and non-surgical medical procedures that allow patients to improve their quality of life.
                 12   The company is focused on three strategic areas: breast, body and facial aesthetics and is the only

                 13   manufacturer whose breast implants are made in the U.S.A. Mentor joined the Johnson &

                 14   Johnson Family of Companies in 2009 and is part ofits Global Surgery Group.

                 15          3.     In 1976, Congress passed the Medical Device Amendments ("MDA") to the

                 16   Federal Food, Drug and Cosmetic ("FD&C) Act. Breast implants were placed into Class II
                 17   devices and reviewed through the premarket notification [510(k)] process. In 1988, in response

                 18   to emerging safety concerns,the FDA re-classified breast implants to class III devices(requiring
                 19   premarket approval), which was fmalized in 1991 when the FDA published a final 515(b)

                 20   regulation calling for new silicone gel-filled breast implant applications for premarket approval.

                 21          4.     Premarket approval(PMA)is the FDA process of scientific and regulatory review
                 22   to evaluate the safety and effectiveness of Class III medical devices. Class III devices are those

                 23   that support or sustain human life, are of substantial importance in preventing impairment of
                 24   human health, or which present a potential, unreasonable risk ofillness or injury. Due to the level

                 25   of risk associated with Class III devices, the FDA has determined that general and special

                 26   controls alone are insufficient to assure the safety and effectiveness of class III devices.

                 27   Therefore, these devices require a PMA under section 515 of the FD&C Act in order to obtain

                 28   marketing clearance.

   Law Offices
COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                          1
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 4 of 21 Page ID #:253



                  1             5.   In January 1992,the FDA announced a voluntary moratorium on silicone gel-filled
                  2   breast implants,requesting that manufacturers stop supplying them and surgeons stop implanting

                  3   them,while the FDA reviewed new safety and effectiveness information that had been submitted.
                  4   In April 1992, the FDA determined that none of the PMAs submitted for Mentor's MemoryGel
                  5   Silicone Gel Breast Implants contained sufficient data to support approval, and therefore.
                  6   Mentor's MemoryGel Silicone Gel Breast Implants were no longer marketed in the U.S.
                  7   However, the FDA also determined that access to silicone gel-filled breast implants for

                  8   reconstruction and revision patients should continue, and implants used for these indications

                  9   should be considered to be investigational devices, and women who received them should be

                 10   followed through adjunct clinical studies.
                 11             6.   In December 2003, Mentor Worldwide LLC ("Mentor") submitted a PMA for its

                 12   MemoryGel Silicone Gel Breast Implants. In 2006, the FDA approved Mentor's PMA. Exhibit

                 13   L This was the first time silicone gel-filled breast implants were available for augmentation, in
                 14   addition to reconstruction and revision, since the moratorium was established in 1992. As

                 15   conditions of approval. Mentor was required to conduct six post-approval studies to further

                 16   characterize the safety and effectiveness of their MemoryGel Silicone Gel Breast Implants and
                 17   to answer scientific questions that the premarket clinical trials were not designed to answer.

                 18
                      II.   PARTIES
                 19
                            A.       Plaintiff Sara Ebrahimi
                 20
                                7.   Plaintiff, Sara Ebrahimi ("Plaintiff' or "Ms. Ebrahimi"), is a resident of Bellevue,
                 21
                      Washington.
                 22

                 23   ///

                 24
                      ///
                 25         0




                 26   ///

                 27

                 28

   Law Oflices

COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 5 of 21 Page ID #:254



                  1          B.      Defendant Mentor

                  2

                  3

                  4

                  5

                 6

                  7

                  8
                                        4-MENTOR
                  9

                 10           8.     Defendant Mentor is a limited liability company incorporated under the laws of

                 11   Delaware with its principal place of business located at 201 Mentor Drive, Santa Barbara, CA,

                 12   and its headquarters located at 33 Technology Drive, Irvine, CA 92618. Defendant Mentor is a

                 13   wholly-owned subsidiary of Defendant Johnson & Johnson.

                 14

                 15   III.   JURISDICTION AND VENUE

                 16          9.     This court has subject matter jurisdiction based on diversity of the parties and the

                 17   amount in controversy exceeds $75,000.00 as required under 28 U.S.C. § 1331.

                 18           10.    Venue is appropriately in the Central District of California pursuant to 28 U.S.C.

                 19   § 1391(a), in that:(a) Defendant Mentor has its principle place of business in California; and (b)

                 20   a substantial part of the events giving rise to this action occurred in this District.

                 21
                      IV.    FACTUAL ALLEGATIONS
                 22
                             A.     Silicone Implants—Background
                 23
                              11.   At all relevant times, Mentor designed, manufactured, and distributed Mentor
                 24
                      breast implants, including tlie Mentor MemoryGel Silicone Gel Breast Implants.
                 25
                              12.   The FDA,after the enactment ofthe MDA,allowed the use ofsilicone-filled breast
                 26
                      implants as long as manufacturers later provided "reasonable assurance" of the products' safety
                 27
                      and effectiveness. 21 U.S.C. §360e(d)(2). In 1988, in response to emerging safety concerns, the
                 28

   Law Offices

COTCHETT.PiTRE &
 McCarthy, LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                         3
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 6 of 21 Page ID #:255



                  1   FDA re-classified breast implants to class III devices(requiring premarket approval), which was
                 2    finalized in 1991 when the FDA published a final 515(b) regulation allowing for PMAs for
                 3    silicone gel-filled breast implants.
                 4            13.   In 1992, the FDA determined that there were insufficient data for approval, and

                 5    Mentor's MemoryGel Silicone Gel Breast Implants were no longer marketed in the U.S., with
                 6    the exception ofuse in reconstruction and revision patients. In 2006,the FDA approved Mentor's

                 7    PMA. Exhibit 1. As conditions of approval. Mentor was required to conduct six post-approval

                 8    studies to further characterize the safety and effectiveness of their MemoryGel Silicone Gel

                 9    Breast Implants and to answer long term questions that the premarket clinical trials were not

                10    designed to answer.

                11           B.     Sara Ebrahimi Background

                12            14.   In 2013, Sara Ebrahimi consulted with a board-certified plastic surgeon in Encino,

                13    California to discuss breast augmentation. She reviewed the Mentor brochure (Exhibit 2) before
                14    consenting to the surgery.

                15            15.   In fact, the information related to her and the brochure confirmed for her that

                16    problems previously associated with silicone implants had been remedied before they were
                17    brought back on the market in 2006.

                18            16.   On June 5,2013, Ms.Ebrahimi underwent Bilateral Silicone Breast Augmentation
                19    in Encino, California and was implanted with Mentor MemoryGel Silicone Gel Breast Implants.
                20    Prior to the surgery, Ms. Ebrahimi was a healthy and driven individual and lived a healthy
                21    lifestyle.
                22            17.   On June 12, 2013, Ms. Ebrahimi developed pain in both breasts along with mild

                23    hardening that persisted. Several days later, on July 2,2013, Ms.Ebrahimi developed an enlarged
                24    Ijonph node. By August 2013, Ms. Ebrahimi had developed progressive severe pain in her left
                25    breast accompanied by lateral malposition. She also experienced chest pain, pressure in her ribs,
                26    fatigue, increased pain in her lymph nodes, and weakness.
                27

                28

  Law Offices

COTCHETT,PlTRE&
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 7 of 21 Page ID #:256



                   1           18.   On October 2, 2013, Ms. Ebrahimi underwent revision surgery on her left breast
                  2    due to lateral malposition. She was still experiencing pain in her ribs, swollen lymph nodes, and

                  3    suffering from general fatigue and weakness.
                  4            19.   In February 2014, bloodwork done on Ms. Ebrahimi showed high homocysteine

                  5    (an amino acid linked to the development of stroke and heart disease) and a moderate level of

                  6    CRP (C-reactive protein, which is a substance produced by the liver in response to
                  7    inflammation.). By November 2014, she had developed photosensitivity with hives and itching

                  8    after sun exposure, brittleness and cracking of her nails, easy bruising, shortness of breath, poor

                  9    wound healing, and some lateral malposition of right breast. Soon thereafter she developed
                 10    cognitive difficulties and immune dysfunction. Her fatigue and weakness had progressed to the
                 11    point where she was often bedridden throughout the day.
                 12           20.    By June 2015, Ms. Ebrahimi began experiencing slow shrinkage of both breasts.
                 13    She had a metallic taste in her mouth, suffered from night sweats, headaches, foul body odor,
                 14    cognitive dysfunction, nausea, and dizziness. In July 2015, she was diagnosed with
                 15    Lymphadenopathy, which is a swelling ofthe lymph nodes,indicative ofinfection. An ultrasound
                 16    procedure on the left side revealed extremely dense breast tissue.
                 17           21.    Ms. Ebrahimi's symptoms continued to worsen, so she had more bloodwork done
                 18    in January 2016. The results revealed low white blood cells, increasing th5Toid
                 19    antibodies/autoimmune antibodies, EBV (Epstein—^Barr virus), CMV (Cytomegalovirus,), and
                 20    varicella zoster (a virus). These results are indicative of a generalized weakened condition. By
                 21    February 7, 2016, Ms. Ebrahimi's chronic, incapacitating fatigue and illness forced her to move
                 22    from Los Angeles to Bellevue to live with her parents so that they could care for her.
                 23           22.    Throughout the first half of2016, Ms. Ebrahimi's symptoms continued to worsen.
                 24    She also developed Hashimotos disease (an autoimmune disorder in which the immune system
                 25    attacks the body's own tissues), skin rashes, and digestive and gastrointestinal issues. New
                 26    bloodwork in May 2016 showed high levels of homocysteine (increasing the risk of stroke and
                 27    heart disease) and other abnormalities, all of which indicated a systemic toxicity due to her
                 28

   Law Offices
COTCHETT,PiTRE &
McCarthy,LLP
                       FIRST AMENDED COMPLAINT AND JURY DEMAND
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 8 of 21 Page ID #:257



                  1   body's reaction to the toxic elements contained within the gel of the implants. As a result, her
                  2   physician recommended removal of her implants.

                  3            23.   In July 2016, Ms. Ebrahimi underwent heavy metal testing and was found to have
                  4   high or excessive levels of 10 different metals listed in Mentor's PMA Summary of
                  5   Effectiveness, including: antimony, barium, chromium, copper, mercury, molybdenum, nickel,
                  6   titanium, vanadium and zinc. The test revealed the presence of 5 of the other metals listed
                  7   Mentor's application for premarket approval. She was diagnosed with silicone toxicity, and
                  8   strongly advised that it was medically necessary to have the implants removed immediately.

                  9            24.   On November 26, 2016, Ms. Ebrahimi underwent explantation surgery with Dr.

                 10   H. Jae Chun, and her implants and capsules were sent to a laboratory to be analyzed by Dr. P.

                 11   Blais.

                 12            25.   Dr. Blais made the follov^ng preliminary findings: (1) capsular contracture, a

                 13   response of the immune system to toxic materials, which develops when internal scar tissue
                 14   forms a tight or constricting capsule around a breast implant, contracting it until it becomes
                 15   misshapen and hard;(2) poor quality of workmanship and patch defects;(3)shell failure, as the
                 16   shell failed to confine the gel which contained metals; and(4)evidence ofintracapsular bleeding.

                 17            26.   After the implants were removed, Ms. Ebrahimi gradually began to regain her
                 18   health with respect to most ofthe symptoms she had been experiencing.
                 19            C.    Mentor PMA APDroval

                 20            27.   On November 17,2006,the FDA approved Mentor's PMA,which allowed Mentor

                 21   to market its MemoryGel Silicone Gel Breast Implants, conditioned upon six requirements. The
                 22   FDA required Mentor to(1)Continue and complete their core post-approval study,(2)Conduct
                 23   a large post-approval study to assess long-term outcomes and identify rare adverse events by

                 24   enrolling 41,900 silicone gel-filled breast implant patients and 1,000 saline-filled breast implant
                 25   patients and follow them for 10 years,(3) Conduct a device-failure study in concert with their
                 26   large post-approval study to further identify the modes and causes offailure ofexplanted devices
                 27   over the 10-year period, (4) Complete a focus-group study to evaluate how easily patients

                 28   understand the information in the informed decision brochure about the risks associated with the

   Law Offices

COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                         6
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 9 of 21 Page ID #:258



                  1   use ofsilicone breast implants,(5)Complete an informed decision study to monitor the process
                  2   of how patient labeling is distributed to women considering silicone gel-filled breast implants,
                  3   and (6) Complete the Mentor adjunct study, which was in place after 1992, when the FDA
                  4   allowed Mentor to market silicone gel-filled breast implants for reconstruction after mastectomy,
                  5   correction of congenital deformities, or replacement of existing implants. Women who received
                  6   silicone gel-filled breast implants for these purposes were enrolled in Adjunct Studies so that
                  7   data about device performance and safety could be collected. Participant enrollment began in

                  8   1992 for Mentor. As a condition ofapproval ofsilicone gel-filled breast implants in 2006,Mentor

                  9   was required to close enrollment ofnew patients into the Adjunct Studies but continue to follow
                 10   existing participants through their 5-year post-implant evaluations
                 11                                 i.     Core Post-Approval Study

                 12          28.    As one of the conditions of approval, the FDA specifically required Mentor to

                 13   continue their Core Study, which had been underway and published in Mentor's PMA. Exhibit
                 14   3. There were 1008 patients enrolled in that study. Mentor was to continue the study until all

                 15   patients had completed their 10-year evaluation in order to assess the long-term clinical

                 16   performance of their product. Mentor was required to collect data via annual physician follow-
                 17   up evaluations. The primary changes to the protocol from premarket to post approval were that
                 18   all non-MRI patients should have an MRI at years 6, 8, and 10 and that all patients who were

                 19   explanted without replacement were to be evaluated through 10 years. Mentor was also required
                 20   to update their patient and physician labeling to reflect the results ofthe 5 and 10-year Core Study

                 21   findings and to report to the FDA significant new information regardless ofwhen the information
                 22   became available.

                 23          29.    According to the FDA website,the core post-approval study follow-up rates at nine
                 24   years post-implant were only 59 percent. The lack of a sufficient statistical sample, due to the
                 25   low follow-up rate, hampered Mentor's ability to alter the labeling and defeated the purpose of
                 26   the study in assessing the long-term clinical performance of the product. Furthermore, the FDA
                 27   requirements specifically mandated evaluation through 10 years, but the report schedule
                 28   illustrates that reporting was only done for six years. The reported findings of this study lack
   Law Offices
COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                          7
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 10 of 21 Page ID #:259



                  1   statistical reliability in the sub-groups (cohorts): primary augmentation, revision augmentation,
                  2   primary construction, and revision reconstruction.

                  3          30.    In the primary augmentation cohort. Mentor only reported the reasons for
                 4    reoperation in 36% of the sample. Mentor failed to disclose to the FDA the reasons why only
                  5   about one-third ofthe sample were included in this aspect ofthe study.

                 6           31.    In the revision augmentation cohort, reoperation rate was 43%. Mentor reported
                  7   the most common reason for reoperation, which was capsular contraction, at 30.4%. Mentor

                  8   failed to disclose other significant reasons why women in this category needed reoperation.

                  9          32.    In the primary construction cohort. Mentor reported reoperation rates at 49%.

                 10   Mentor reported that of that group, 53% needed reoperation because of asymmetry, capsular
                 11   contraction, rupture, and breast mass. Fully 47% of women in this category needed reoperation
                 12   for which Mentor failed to document or explain the reasons.

                 13          33.    In the revision reconstruction cohort, reoperation was performed on 50.7% of the
                 14   women surveyed. The most frequently reported reasons were capsular contraction and breast
                 15   mass totaling 36% of reoperations. Other reported reasons, including connective tissue and
                 16   neurologic disorders and gel bleed were downplayed even though they were significant given the
                 17   small sample studied.

                 18                                ii.    Large Post-ApDroval Study

                 19          34.    The FDA's approval also required Mentor to conduct a 10-year large post approval

                 20   study, consistent with a protocol submitted to the FDA by Mentor on September 26, 2006.
                 21   Exhibit 4.

                 22          35.    That protocol required patient enrollment within 90 days ofissuance of the PMA.

                 23   The Large Post-Approval Study was to be a separate study from the Core Study and was to

                 24   include 41,900 Mentor silicone gel patients and 1,000 saline-filled breast implant patients as the
                 25   control group. The purpose ofthis study was to address specific issues for which the Core Study
                 26   was not designed to fully answer, including a real-world assessment of long-term local

                 27   complications,such as connective tissue disease(CTD),CTD signs and symptoms,neurological
                 28   disease, neurological signs and symptoms; offspring, reproductive, and lactation issues; cancer
   Law Offices
COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                        8
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 11 of 21 Page ID #:260



                  1   rates, suicide, mammography issues, rupture results, and MRI compliance. The data was to be
                  2   collected through annual patient questionnaires, either completed via the internet, mail, or
                  3   telephone. The study also required physician evaluations at years 1,4-6,9 and 10 to collect data
                 4    on complications. Mentor was required to update their patient and physician labeling to reflect
                  5   the 5 and 10-year study findings, as well as at any other time if necessary to report significantly
                 6    new information from the study.

                  7          36.    At the outset, the actual number ofenrolled patients was 41,451,over 500 patients
                  8   fewer than the PMA requirements. Ofthose patients, 113 did not provide important information.
                 9    At year 7,the overall follow-up rate was 20.1%(8,331 participants out of41,452),leaving 79.9%

                 10   ofthe desired statistics unavailable for evaluation.

                 11          37.    This was a study of significant importance required by the FDA for post market
                 12   approval. The study was designed to address a critical spectrum of health issues for women with
                 13   breast implants. Mentor did not comply with the required data collection. With a 79% dropout
                 14   rate, the study failed to demonstrate that use of the Mentor silicone gel implants was safe. The
                 15   inadequate results are even more disconcerting because the data collection was designed to

                 16   examine reasons for reoperation—^previously unevaluated—^including MRI results, and

                 17   rheumatologic or neurological symptoms. The lack ofparticipation and reliable results from this

                 18   study show that Mentor has failed to comply with FDA requirements. Mentor did not follow

                 19   through with data collection, only 21% were followed up on after three years, leaving 79% not

                 20   followed up on for the 3-year data collection. 79.9% were not followed up on for the 7-year data

                 21   collection, and no follow-up rate was provided for the 10-year data collection.

                 22                                iii.    Device Failure Study

                 23          38.    In order to ascertain the reasons for and frequency of device failure, the FDA

                 24   specifically required that"Mentor must continue preclinical studies to characterize the long-term

                 25   modes and causes offailure of explanted retrieved devices for the 10-year duration ofthe large

                 26   postapproval study." Exhibit 5. This study was to address the following specific issues: "(1)
                 27   further evaluation of iatrogenic failures to address issues raised by the April 2005 Panel,(2)the
                 28   characterization of when surgical instrument damage occurs, (3) further evaluation and

   Law Offices
COTCHETT,PiTRE &
McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                         9
          Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 12 of 21 Page ID #:261



                 1   characterization offailures due to localized shell stress, and (4)any correlation between surgical
                 2   factors (e.g., incision size) and device rupture." Mentor was also required to update their patient
                 3   and physician labeling to reflect any relevant findings from this study.

                4              39.   Mentor's Device Failure Study report ofsummary findings to the FDA did not list
                 5   sample size, did not list results of the data findings (no clinical data and no visual inspection
                6    data), did not list safety findings, did not list any recommendations or summary of safety and
                 7   data or follow-up on the data, and did not list any changes to labeling, all in violation of this

                 8   condition established in the approval of Mentor's PMA.

                 9             40.   Overall, Mentor blatantly failed to meet the FDA's requirements. Mentor merely

                10   filed a report with minimal information just to show that they were following reporting protocol.

                11                                 iv.    Focus Group Study

                12             41.   This condition required Mentor to complete a focus group study of the

                13   augmentation and reconstruction patient groups. Exhibit 6. An independent group was to obtain

                14   responses from patients on the adequacy of the format and content of the approved labeling.

                15   Upon completion ofthe focus group study. Mentor was to provide a report ofthe findings and a
                16   revised patient and physician labeling based on those findings.
                17             42.   Mentor used only 35 women to evaluate how patients understood the safety and

                18   labeling brochures. Some respondents concluded that the true purpose of the brochure was to

                19   protect Mentor,rather than inform patients about the risks ofbreast implant surgery. Respondents

                20   reported that the information on the labeling did not help them understand the risks and
                21   complications associated with breast implants. Respondents also felt the brochure fell short of

                22   providing information on the benefits of breast implants and did not acknowledge the deeply
                23   personal benefits of body image and self-esteem, especially for women who lose their breast to
                24   cancer.

                25          43.      The recommendations for labeling changes included adding information clearly
                26   describing differences between restoration, replacement,reconstruction, and revision early in the
                27   main body of the brochure; adding information on potential complications based on the
                28

  Law Offices
CoTCHETT,Pure &
                     FIRST AMENDED COMPLAINT AND JURY DEMAND                                                        10
 McCarthy,LLP
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 13 of 21 Page ID #:262



                  1   likelihood of occurrence; providing more information about benefits; and providing more
                  2   qualitative information to help women make more informed decisions.

                  3          44.    Despite the long list ofrecommendations for labeling changes,no further tests were
                  4   done. Moreover, the small number of women studied and the blatant disregard for the

                  5   recommendations for labeling exemplifies that the PMA requirements were not met by Mentor.
                  6                                 V.     Informed Decision Study

                  7          45.    The Informed Decision Study required Mentor to distribute their approved patient
                  8   labeling to all physicians intending to use the silicone gel products. Exhibit 7. Both the physician
                  9   and the patient were intended to sign designated sections in order to best assure that the patient

                 10   had obtained the labeling in sufficient time prior to surgery to read it and understand the risks

                 11   and other information associated with the Mentor device. Mentor was to conduct the survey

                 12   randomly, selecting 50 physicians on an annual basis, collect the results and provide a summary

                 13   ofthe findings to the FDA under the condition the FDA was to evaluate the findings and advise

                 14   Mentor if and when the annual survey was no longer necessary. In addition, Mentor was to
                 15   provide training on this process as part oftheir physician training program.
                 16          46.    The summary of findings filed by mentor did not list the sample size of patients

                 17   enrolled. It only provided insight for one year(2011)and reported that 54 surveys were returned
                 18   by 50 physicians and did not list what went into the survey or which points were assessed.
                 19                                 vi.    Mentor Adjunct Study

                 20          47.    The final condition imposed by the FDA required Mentor to continue the adjunct
                 21   study. Exhibit 8. This study was originally designed to serve a public health need for
                 22   reconstruction and revision patients, but because that need was no longer an issue (because of
                 23   the PMA), Mentor was required to: (1) cease new patient enrollment into the study, and (2)
                 24   continue to follow-up on all currently-enrolled Mentor Adjunct Study patients through 5 years.
                 25   The data from the follow-up study was to be reported as part of the annual reports required by
                 26   the PMA.

                 27          48.    In addition to addressing the health needs of reconstruction and revision patients,

                 28   the study was to gather data regarding short-term implant complications.
   Law Offices
COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                         11
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 14 of 21 Page ID #:263



                  1          49.     After completion of the study, Mentor reported on only 36.8% of the patients in
                 2    the reconstruction cohort; 49.7% revision-reconstruction cohort; and approximately 33% of the
                  3   revision-augmentation cohort. Mentor reported to the FDA that "poor patient compliance
                 4    significantly limited interpretation of the available safety results."

                 5          D.       Mentor Violated the PMA Conditions

                 6           50.     Mentor's duty to the scientific community and women who have undergone
                 7    augmentation for any reason—^at the insistence ofthe FDA—^was to design an effective study. It
                  8   was Mentor's obligation to design and execute a study where women were able to access internet
                 9    forms that are easily understood and provide a working forum to report their experience with
                 10   implants. Mentor intentionally and systematically failed to make this happen which is a violation
                 11   of the FDA's conditions for approval. Data collection was sparse and potential serious side
                 12   effects and harmful complications were downplayed and under-reported due to inadequate
                 13   sample size.

                 14          51.     All six of these studies were supposed to support long-term safety. The poor
                 15   follow-up rates and inadequate data confirm Mentor's intentional and systematic failure to follow
                 16   FDA requirements. Halfway through the ten-year prospective post-marketing studies mandated
                 17   by the FDA,well over 50% ofthe 80,000 women in the study groups were dropped or otherwise
                 18   eliminated from the studies. Of the patients who were accounted for, significant numbers

                 19   reported systemic ailments which can only be attributed to gel bleed introducing known toxins
                 20   including silicone, heavy metals and chemicals into their bodies. Mentor was aware, or should
                 21   have been aware that the gel contained chemicals and metals toxic to the human body but failed
                 22   to adequately report that to the FDA and warn their patients oftheir dangerous consequences.

                 23          52.     It has also been reported that the silicone is more likely to leak, even when the
                 24   implants are intact, and that platinum used in the implants is more dangerous than reported.
                 25   Mentor knew ofthese risks associated with implants, but covered them up by terminating studies,

                 26   sponsoring only self-serving research they could control, and by misrepresenting the risks to the

                 27   users, physicians, and regulatory agencies.

                 28

   Law Offices
COTCHETT,PiTRE &
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                      12
 McCarthy,LLP
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 15 of 21 Page ID #:264



                  1          53.    Defendant's post-approval obligations under federal law included, but are not
                  2   limited to:

                  3         a. report to the FDA information suggesting that one of the Manufacturer's devices may
                  4             have caused or contributed to a death or serious injury, or has malfunctioned and would

                  5             be likely to cause death or serious injury if the malfunction were to recur, 21 CFR §§

                 6              803.50 et seq.;

                  7         b. monitor the product after pre-market approval and to discover and report to the FDA

                  8             any complaints about the product's performance and any adverse health consequences

                 9              of which it became aware and that are or may be attributable to the product, 21 CFR

                 10             §§814etseq.;

                 11         c. submit a PMA Supplement for any change in Manufacturing Site, 21 CFR §§ 814.39
                 12             et seq.;

                 13         d. establish and maintain quality system requirements to ensure that quality requirements

                 14             are met,21 CFR § 820.20 et seq.;

                 15         e. establish and maintain procedures for validating the device design, including testing

                 16             of production units under actual or simulated use conditions, creation of a risk plan,

                 17             and conducting risk analyses, 21 CFR §§ 820.30 et seq.;

                 18         f. document all Corrective Action and Preventative Actions taken by the Manufacturer

                 19             to address non-conformance and other internal quality control issues, 21 CFR §§

                 20             820.100 et seq.;

                 21         g. establish internal procedures for reviewing complaints and event reports, 21 CFR §§

                 22             820.198, §§ 820.100 et seq. and §§ 820.20 et seq.;

                 23         h. establish Quality Management System(QMS)procedures to assess potential causes of

                 24             non-conforming products and other quality problems,21 CFR §§820.70 et seq. and 21

                 25             CFR §§ 820.90 et seq.;

                 26         i. report on Post Approval Studies in a timely fashion, 21 CFR §§ 814.80 et seq.; and

                 27         j. advertise the device accurately and truthfully, 21 CFR §§801 et seq.

                 28

   Law Offices

COTCHETT,PtTRE &
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                      13
 McCarthy,LLP
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 16 of 21 Page ID #:265



                  1           54.      Had Defendants fulfilled these obligations, which federal and state law required
                  2   them to do, Plaintiffs injuries would not have occurred. Defendants failed to do so.

                  3           E.       Mentor Intentionally Failed to Warn Patients and Doctors

                 4            55.      Mentor's Product Insert Data Sheet (Exhibit 91 regarding the implants state that

                  5   "[s]mall quantities oflow molecular weight(LMW)silicone compounds,as well as platinum (in
                 6    zero oxidation state), have been found to diffuse ("bleed") through an intact implant
                 7    shell    Mentor performed a laboratory test to analyze the silicones and platinum (used in the
                  8   manufacturing process), which may bleed out of intact MemoryGel Breast Implants into the

                 9    body....Over 99% of the LMW silicones and platinum stayed in the implant. The overall body
                 10   of available evidence supports that the extremely low level of gel bleed is of no clinical
                 11   consequence."

                 12           56.      Arsenic, antimony, barium, cobalt, mercury, nickel, copper, zinc, chromium,
                 13   titanium, vanadium, selenium, tin, and molybdenum in high levels were all found in Ms.
                 14   Ebrahimi's body during her toxicology testing. None of these elements were listed in Mentor's

                 15   Product Insert Data Sheet. Mentor only mentioned silicone compounds and platinum.

                 16           57.   The nature and extent of Ms. Ebrahimi's injuries and test results demonstrate a

                 17   significant gel bleed, as opposed a bleed of"small quantities" of gel, or an "extremely low level
                 18   of gel bleed."

                 19           58.      Mentor failed to warn consumers, healthcare providers, and the FDA that a
                 20   significant gel bleed was a potential risk, and failed to warn that there were other toxic materials

                 21   in the gel that posed a substantial danger of injury to the Plaintiff.

                 22           59.   The risk of a significant gel bleed containing toxic materials was not disclosed or

                 23   discussed in what Mentor calls its "Directions for Use" or in its consumer labeling, despite the

                 24   availability of substantial evidence that such was a significant potential risk of use, even in a
                 25   properly manufactured product.

                 26           60.   The occurrence of a significant gel bleed, and the presence of neurotoxic levels of
                 27   arsenic, antimony, barium, cobalt, mercury, nickel, copper,zinc, chromium,titanium, vanadium,
                 28   selenium, tin, and molybdenum in Ms. Ebrahimi's body shows the following:

   Law Offices

COTCHETT,PiTRE &
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                         14
 McCarthy,LLP
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 17 of 21 Page ID #:266



                  1          a. The implants placed into Ms. Ebrahimi were different from those approved by the
                  2             FDA;

                  3          b. The implants Ms. Ebrahimi received were inconsistent with and deviated from federal
                 4              requirements and the product specifications submitted to the FDA;and
                  5          c. The implants Ms. Ebrahimi received were defective under California law because the
                 6              implants differed from the manufacturer's designs or specifications, or from other
                  7             typical units ofthe same product line.

                  8          61.    Mentor knew of multiple risks associated with implants, and responded by
                 9    terminating studies, sponsoring only self-serving research they could control, and by
                 10   misrepresenting the risks to the patients, physicians, and regulatory agencies.

                 11          62.    Under California law. Defendant had a duty to adequately warn Plaintiff and her
                 12   doctors about the dangers of Mentor MemoryGel silicone breast implants that were known or
                 13   knowable to Defendant at the time of distribution. Under both federal and state law. Defendant

                 14   also has a post-market duty to monitor and report adverse events and risks associated with the
                 15   device. Despite having knowledge and possession of evidence that showed the use of Mentor

                 16   MemoryGel silicone breast implants were dangerous and likely to place consumers' health at

                 17   serious risk. Defendant failed to disclose and warn ofthe health hazards and risks associated with

                 18   the product. Instead, Defendant marketed, advertised, and promoted the product while failing to
                 19   monitor, warn, or otherwise ensure the safety and efficacy of its users in violation of California

                 20   law.

                 21
                      V.     VIOLATIONS ALLEGED
                 22

                 23                                   FIRST CAUSE OF ACTION

                 24                            Strict Product Liability—^Failure To Warn
                 25                                      (Against All Defendants)

                 26          63.    Plaintiff incorporates and re-alleges every allegation set forth in Paragraphs 1-62.
                 27

                 28

   Law Offices

COTCHETT,PiTRE &
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                       15
 McCarthy,LLP
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 18 of 21 Page ID #:267



                  1          64.      At all times relevant herein, Defendants were engaged in the business of
                  2   designing, developing, manufacturing, testing, packaging, promoting, marketing,
                  3   distributing, labeling, and/or selling the Mentor MemoryGel Silicone Gel Breast Implants.

                  4          65.      At all times relevant herein. Defendants intended for the MemoryGel Silicone Gel

                  5   Breast Implants to be surgically implanted into the bodies of members of the general public,
                 6    including Plaintiff, and knew or should have known that the product would be surgically

                  7   implanted into members ofthe general public, including Plaintiff.

                  8          66.      The MemoryGel Silicone Gel Breast Implants had the potential to cause injury,
                  9   through leakage of the silicone gel into the tissues ofthe user's body,thereby introducing toxic
                 10   metals and chemicals into those tissues, resulting in serious, dangerous and harmful side effects

                 11   and complications all to the detriment ofthe health and well-being ofthe users of their product,

                 12   including Plaintiff.

                 13          67.      This potential to cause injury through leakage was known or knowable in light of
                 14   the scientific and/or medical knowledge that was generally accepted in the scientific community
                 15   at the time of the manufacture, distribution, and sale of the MemoryGel Silicone Gel Breast
                 16   Implant that was used in Plaintiffs surgery.

                 17          68.      This potential to cause injury through leakage presented a substantial danger when

                 18   the MemoryGel Silicone Gel Breast Implant is used or misused in an intended or reasonably

                 19   foreseeable way.

                 20          69.      Plaintiff and her doctors used the MemoryGel Breast Implant in the manner

                 21   intended by Defendants and/or in a manner reasonably foreseeable by Defendants.
                 22          70.      Ordinary users, including Plaintiff and her physicians, could not, in the exercise
                 23   of reasonable care, have recognized the potential for defects herein mentioned and perceived

                 24   their danger.

                 25          71.      Mentor failed to adequately warn or instruct of the potential risk for injury, as

                 26   described above,from leakage from the MemoryGel Silicone Gel Breast Implant.

                 27

                 28

   Law Offices
COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                       16
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 19 of 21 Page ID #:268



                  1           72.    Adequate warnings,including potential risks ofinjury due to significant gel bleed,
                  2   that may follow the foreseeable use of the MemoryGel Silicone Gel Breast Implant, were not

                  3   given to Plaintiffs physicians.

                 4            73.    Defendants had a continuing duty to warn Plaintiff and her doctors ofthe dangers
                  5   associated with the MemoryGel Silicone Gel Breast Implants, as long as the product remains in
                 6    use.


                  7           74.    As a direct and proximate result of the foregoing acts and omissions. Plaintiff
                  8   suffered severe and permanent physical injuries. Plaintiff has endured, and will continue to
                  9   endure, substantial pain and suffering. Plaintiff has incurred significant expenses for medical

                 10   care and treatment, and will continue to incur such expenses in the future. Plaintiff has suffered

                 11   and will continue to suffer economic loss, and have otherwise been physically, emotionally and

                 12   economically injured.

                 13           75.    The wrongful acts, representations and/or omissions of Defendants, hereinabove
                 14   set forth, were made, adopted, approved, authorized, endorsed and/or ratified by Defendants'
                 15   officers, directors, or managing agents, and were done maliciously, oppressively, fraudulently
                 16   and/or with a willful and knowing disregard of the probably dangerous consequences for the
                 17   health and safety of its products users, including Plaintiff. In making, adopting, approving,

                 18   authorizing, endorsing and/or ratifying such conduct hereinabove set forth, the officers, directors

                 19   and/or managing agents of Defendants acted with a willful and/or knowing disregard of the

                 20   probably dangerous consequences, and/or acted with an awareness of the probably dangerous
                 21   consequences of their conduct and deliberately failed to avoid those consequences, thereby

                 22   creating a substantial risk of injury to Plaintiff and other users of their products. Plaintiffs are
                 23   entitled to punitive and exemplary damages in an amount to be ascertained, which is appropriate
                 24   to punish to set an example of Defendants and deter such behavior by them in the future.

                 25          WHEREFORE,Plaintiff prays as hereinafter set forth.

                 26
                                                     SECOND CAUSE OF ACTION
                 27
                                              Strict Product Liability—^Manufacturing Defect
                 28

   Law Offices

COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                         17
            Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 20 of 21 Page ID #:269



                  1                                           (Against All Defendants)

                  2             76.     Plaintiff incorporates and re-alleges every allegation set forth in Paragraphs 1-75.
                  3             77.     Defendants manufactured, distributed and sold the MemoryGel Silicone Gel
                  4   Breast Implants that were implanted into Plaintiffs body.

                  5             78.     The MemoryGel Silicone Gel Breast Implant implanted into Plaintiffs body was
                  6   being used, at the time of her surgery, in a manner intended by or reasonably foreseen by the
                  7   Defendant when it manufactured, distributed, and sold the implant.

                  8             79.     At the time Defendants manufactured, distributed, and sold the MemoryGel

                  9   Silicone Gel Breast Implant that was implanted into Plaintiffs body, the implant contained a

                 10   manufacturing defect in that the implant differed from the manufacturer's design or
                 11   specifications or from other typical units ofthe same product line.
                 12             80.     The manufacturing defects described herein were a substantial factor in causing

                 13   toxins contained in the gel to seep into the tissues of her body within a short time after the
                 14   implants were placed in her body,resulting in Plaintiffs injuries and damages as herein alleged.

                 15                  WHEREFORE,Plaintiff prays for relief as hereinafter set forth.
                 16
                                                             PRAYER FOR RELIEF
                 17
                      WHEREFORE,Plaintiff prays for relief as set forth below:
                 18
                                A.      Actual damages, statutory damages, punitive or treble damages, and such other
                 19
                      relief as provided by the statutes cited herein;
                 20
                                B.      Pre-judgment and post-judgment interest on such monetary relief;
                 21
                                C.      Equitable reliefin the form ofan injunction prohibiting the illicit conduct described
                 22
                      herein;
                 23
                                D.      The costs of bringing this suit, including reasonable attorneys' fees; and
                 24
                                E.      All other relief to which Plaintiff may be entitled at law or equity.
                 25

                 26

                 27

                 28

   Law Offices
COTCHETT,PiTRE &
 McCarthy,LLP
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                                            18
           Case 2:16-cv-07316-DMG-KS Document 24 Filed 10/06/17 Page 21 of 21 Page ID #:270



                  1   DATED: October £/,2017             COTCHETT,PURE & McCARTHY,LLP

                 2

                 3                                                       Robert B. Hutchinson

                 4                                               Counsel for PlaintiffSara Ebrahimi

                 5
                                                    DEMAND FOR JURY TRIAL
                 6
                           Plaintiff hereby requests a jury trial on any and all claims so triable.
                 7
                      DATED: October ^,2017              COTCHETT,J>ITRE & McCARTHY,LLP
                 8

                 9
                                                                         Robert B. Hutchinson
                 10
                                                                 Counsel for PlaintiffSara Ebrahimi
                 11

                 12

                 13

                 14

                 15

                 16

                 17

                 IS

                 19

                 20

                 21

                 22

                 23

                 24

                 25

                 26

                 27

                 28

   Law OfTices
COTCHnXT. PfTRE &
                      FIRST AMENDED COMPLAINT AND JURY DEMAND                                         19
 McCarthy.LLP
